Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 1 of 49

Exhibit 3(i): Gensia

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EMPLOYEE “ * [DEPENDENT IF APPLICABLE)... | RELATIONSMIP- me
PROWDER TAX 1.0. #: PATIENT AGCOUNT # 10 |. «
OARTETEBO NO 0588583
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SHEET METAL WORKERS’ NATIONAL HEALTH FUND. SAEEESUED
PO. BOX 1449 » GOODLETTSVILLEJTN 37070-1449
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SHEET METAL WORKERS’ NATIONAL HEALTH FUND
PO. Bok 1449
Goodlettsville, Tennessee 37070-1449 Spite PROGRAM
Toll-Free 800-831-4914 | Phone (615) 859-0131
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BRADFORD MA 01835 :
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 3 of 49

HALLMARK ' HEALTH 2 9 PATIENT CONTROL NUMBER
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 4 of 49

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 5 of 49

MEDICARE NATIONAL STANDARD INTERMEDIARY REMITTANCE ADVICE
HALLMARK HEALTH SYSTEMS PROVIDER: [220070 MEDICARE
100 HOSPITAL ROAD ENDING: 14/31/2002
MALDEN MA 02148 BILL TYPE} 131
NAME: wee os SERVICE: 10/01/2002 THRU 10/31/2002
Hic: PCN: V19070457 1 MEDICARE PAYMENT DATE: 12/03/2002
MRN: H0081528 ICN: 1231539763 PAT STAT: 01 CLAIM STAT: 1
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 6 of 49

Exhibit 3(j): Immunex

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SHEET METAL WORKERS’ NATIONAL HEALTH FUND SATESSUED
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SHEET METAL WORKERS’/NATIONAL HEALTH FUND
PO. Box 1449
Goodlettsville, Tenflessee 37070-1449 amit _PROGROH
Toll-Free 800-831-4914 | Prione (615) 859-0131
EXPLANATION] OF BENEFITS
FROM TO CHARGES NON CHARGES COVERED AMOUNT
DATE | DATE SUBMITTED COVERED ALLOWED CHARGES . PAID
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PARTICIPANT -
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 8 of 49

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PO BOX 1449

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 9 of 49

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PO BOX 1449

GOODLETTSVILLE, ITN 37070-1449

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 10 of 49

MEDICARE NATIONAL STANDARD INTERMEDIARY REMITTANCE ADVICE
HALLMARK HEALTH SYSTEMS PROVIDER: [220070 MEDICARE
100 HOSPITAL ROAD ENDING: 10/31/2002
MALDEN MA 02148 BILL TYPE} 131
NAME: wee oe SERVICE: 10/01/2002 THRU 10/31/2002
HIC: PCN: V19070457 1 MEDICARE PAYMENT DATE: 12/03/2002
MRM: H0081528 ICN: 1231539763 PAT STAT: 02 CLAIM STAT: 1
CHARGES pps |DATA PAYMENT DATA

REPORTED. ... 00.0005 2720.00 DRG........0 4... eee eee 000 REIMB RATE............ 0.00
NON-COVERED.......-. 219.00 DRG AMOUNT../.......-. 0.00 PROF COMP.............. 0.00
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DAYS

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 11 of 49

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' Amount Paid:

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NEW BEDFORD, MA 02740

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O. Box 1449
e Goodlettsville, TN 37070-1449
Claim No.1535299 prone (615) 859-0131 Tolls (800) 831-4914 Check No. 0058078
Explanation of Benefits SMW+ Program

12/29/2000 - 12/29/2000

$57.00

$0.00 $4.54 $4.54 $4.54

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SULLIVAN, FREDERICK MPC Claim Number: 1535299 . . r
221 RICHMOND ST
NEW BEDFORD, MA 02740

Southern Benefit-
Processed by Administrators, Inc.

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 12 of 49

sr apace A CTE .
= Re DAG PRL _[ CUSTOMER SERVICE INFORMATION
= FREDERICK J SULLIVAN oc ' -
= 221 RICHMOND ST if you have questions, write or call:
— NEW BEDFORD MA 02740-5620 National Heritage Insurance Company. ms
: : P.O. Box 1000 *
Messrs UDaaelefasT ead efealdaaadatHovseel sfesalleesdll ‘| Hingham, MA 02044 -

Local: (781) 741-3300
Toll-free: 1-800-882-1228
_ HELP STOP FRAUD: Always review your Medicare |. TTY For Hearing Impaired: 1-800-559-0443
Summary Notice for correct informati on about the .
items or services you received.

This is a summary of claims: processed from 01/02/2001 through 01/26/2001.

PART B MEDICAL INSURANCE - ASSIGNED CLAIMS

Dates

Medicare ‘You See
of Amount Meticare Paid May Be Notes
Service Services Provided Charged Approved Provider Billed Section
Claim number 01-00356-057-390
Andrew J Dadagian Md In, C, Roman House Annex,
386 County St, New Bedford, MA 02740-4932
Dr, Dadagian, Andrew J. MLD. . : ,
. 22/11/00 - 1 Remove we impacted car wax (69210) 380.00 $51.21 $40. 97 {s10 .24
RES ne a a BSS ECE ER CS et: er
Claim number 02-)1011-460-700 r
Hawthorn Medical Associ, P-O. Box 3076, o
Boston, MA 02241-0001 ‘ ' ‘t
Dr. Charnond, Siroth M.D. . 2 ft
11/22/00 4 Methotrexate sodium inj (79260) $24.00 $18.04 $14.43 $3.61. a
11/22/00 1 Infection, sc/im (90782) 33.00 4.66 . 3.93 * 0.93
Claim Total $57.00 | §22.70- $18.16 34.54
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eneo as THIS IS NOT A BILL - Keep this notice for your records.
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 13 of 49

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Your Medicar. _ a Page2of4
January 29, 2001
PART B MEDICAL INSURANCE - ASSIGNED CLAIMS (continued)
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, SUD ithe HOA a” Ft ,
Dates mS aC pi eS Medicare You Sec
of . Amount Medina Paid May Be Notes
Service Services Provided Charged Approved Provider Billed Section
Claim aumber 02-00356-544-050
Hawihorn Medical Associ, P.O. Box 3076,
Boston; MA 02241-0001 -
Dr. Egan, Michael W. M.D.

_ 12/13/00 1 Flu vaccine, 3 yrs, im (90658) $25.00 $4.92 $4292 $0.09 b
12/13/00 . 1 Admin influenza virus vac (G0008) 8.00 4.66 4.66 0.00 b
12/13/00 - 4 Methotrexate sodium i inj (J9260} ' 24.00 18.04 a
12/13/00 1 Tnpetion, scfim (90782) , 33.00 0.00 me . ca

Claim Total - ' toe $27.62. °: 4524.0. GL .. .

Claim number 02-00363-395-520

Hawthorn Medica! Associ, P.O. Box 3076, .
Boston, MA 02241-0007

Dr. Davidson, Gail M.D.

12/20/00 4 Methotrexate sodium i inj (19260) $24.00 $18.04 $14.43 $3.6il a ~
12/20/00 __ _L Injection, sc/im (90782) 33.00 4,66 3.73 0.95
Claim Total $57.00 $22.70 318.16 —

-Claim number 02-01011-456-170

Hawthorn Medical Associ, P.O. Box 3076,
Boston, MA 02241-0001

Dr. Egan, Michael W. MLD.

12/29/00 4 Methotrexate sodium inj (J9260) $24.00 $18.04
1229/00 1 Injection, sc/im (90782) 33.00 4.66
Claim Total $57.00 $22.70 .

’ Claim number 02-01018-441-100
Hawthorn Medical Associ, P.O. Box 3076,
Boston, MA 02241-0001
Dr. Egan, Michael W. M.D.
01/05/01 1 Injection, sc/im (90782) $33.00 $4.96

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 14 of 49

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STAPLE PO BOX 1449

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GOOPLETTSVILLE TN 37070

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CARRIER PATIENT AND INSURED INFORMATION —-——— | 4— CARRIER —}

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PERSON'S SIGNATURE | authorize tha

. INGURY (Accident) OR
PREGNANCY (LMP)

- 13. INSURED'S OR AUTHORIZED PERSON'S SIGNATURE | authorize

poyrtrerd of modica! benalils te the undersigned physician or supplier for
sarvieas described below,

SIGNATURE ON FILE
SIGNED

12, PATIENTS OR AUTHORIZED PI release of medeal or olher information necessary to
procast this claim | elso requasl paymani of govamment banofits etiher to myself oc fo tha party who accepts assignment below.
SIGNATURE ON FILE
SIGNED DATE. :
14. DATE OF CURRENT: 18. FE PATIENT HAS HAD ae oF SIMILAR ILLNESS.
DATE OF ILLNESS (First symplom} OR

GIVE FIRST DATE

17. NAME OF REFERRING PHYSICIAN OR OTHER SOURCE
DAVID CHADBOURNE MD

FROM ! i To t i

76. DATES PATIENT UNABLE TO WORK IN CURRENT OCCUPATION |
MM, OD, YY MM, DD, YY

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17a. -0, NUMBER OF REFERRING PHYSICIAN
B9S559

18. HOSPITALIZATION DATES RELATED TQ CURRENT SEAVICES
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18. RESERVED FOR LOCAL USE

20. OUTSIDE LAB? § CHARGES

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PHILIP T GLYNN MD
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GLYNN AND MURRAY OFFICE
299 CAREW STREET, STE 400
SPRINGFIELD MA 01104

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31, SIGNATURE OF PHYSICIAN OA SUPPLIER

39. PENSICIANS, SUPPLIER'S BILLING NAGE AQOPESS ge CHER G
GIYNN & MURRAY , FC

PO BOX 3160
ANDOVER MA 01810

PIN» |GAP # 043499715

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PLEASE PRINT OF TYPE

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APPROVED OMB-0998-0000 FORM GMS-1500 (12-00), FORM RAB-1600,
APPROVED OME-1215 FORM OWCP-1600, APPROVED OMB-0720-001 [CHAMPLIS)

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 15 of 49

RATIONAL BERITAGE JRSURABCE CORPARY
CHECK/ERF” #y128186567 or/10j05 ss PAPE

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AREA  GOODLETTSVILLE TN 37070
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HEALTH INSURANCE CLAIM FORM —

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Filed 09/05/07 Page 16 of 49

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6, PATIENT RELATIONSHIP TO INSURED

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7d. RESEAVED FOR LOCAL USE

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DAVID CHADBOURNE MD

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17a LD, NUMBER OF REFERRING PHYSICIAN

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18. HOSPITALIZATION BATES RELATED TO CURRENT BERVICES
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GLYNN AND MURRAY OFFICE
259 CAREW STREET, STE 400
SPRINGFIELD MA 01104

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ANDOVER MA 01810

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IN THIS
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6. PATIENT STATUS

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GLYNN AND MURRAY OFFICE PO BOX 3160

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 21 of 49
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 22 of 49
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AREA GOODLETTSVILLE TN 37070

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O, Box 1449
Goodlettsville, TN 37070-1449
Claim No.2876150 phone (615) 859-0131 Toll-free (800) 831-4914 ' Check No. 1399686
Explanation of Benefits SMW+ Program

$0.00 $98.29 $98.29 $98.29

12/09/2004 $1,235.00

12/09/2004

Comments:

Provider:

Participant SSN: & 01
MU Y AND GLYNN PC RES Claim Number: 28/6150
PO BOX 3160

ANDOVER, MA 07810

Southern Benefit
Processed by Administrators, Inc.

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

: P.O, Box 1449 '
Goodlettsville, TN 37070-1449
Claim No.2876149 prone (615) 859-0131 Toll-free (800) 831-4914 Check No. 1399685
Explanation of Benefits SMW+ Program |

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Provider: R Py EG
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PO BOX 3160
ANDOVER, MA 01810

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

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Southern Benefit
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 29 of 49
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PLEASE SHER'YT METAL WORKERS
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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O. Box 1449 .
Goodlettsville, TN 37070-1449
Claim No.2876148 phone (615) 859-0131 Toll-free (800) 831-4914 Check No. 1399684
Explanation of Benefits SMW+ Program

12/16/2004 12/16/2004 $6,645.00 $0.00 $570.57 $570.57 $570.57

Comments:

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MURRAY AND GLYNN PC
PO BOX 3160
ANDOVER, MA 01810

‘ Southern Benefit
Processed by Administrators, Inc.

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SHEET METAL WORKERS! NATIONAL HEALTH FUND

P.O. Box 1449
. Goodlettsville, TN 37070-1449 .
Claim No.2876143 phone (615) 859-0131 Toll-free (800) 831-4914 «—S«ss=Cs: Cec No. 1399679
Explanation of Benefits _SMW+ Program

12/16/2004 12/16/2004 $6,645.00 $0.00 $570.57 © $57057 $570.57

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Provider: Y YANG
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MURRAY AND GLYNN PC . RES ClalmNumber. 2876143

PO BOX 3160
ANDOVER, MA 01810

Southern Benefit
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 34 of 49
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PLEASE SHEET METAL WORKERS
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 40 of 49

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

P.O, Box 1449
. . Goodlettsville, TN 37070-1449
Claim No.2876147 prone (615) 859-0131 Toll-free (800) 831-4914 _ Check No. 1399683
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01/07/2005 01/07/2005 $6,378.03. $0.00 $462.52 $462.52 $462.52

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PO BOX 3160
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 42 of 49

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SHEET METAL WORKERS' NATIONAL HEALTH FUND

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HEALTH INSURANCE CLAIM FORM

SHEET, METAL WORKERS
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 44 of 49

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299 CAREW STREET,
SPRINGFIELD MA 01104

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PO “BOX 3160
ANDOVER MA 01810 of
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 46 of 49

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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 47 of 49

EOB ATTACHED

HEALTH INSURANCE CLAIM FORM

PLEASE © SHERT METAL WORKERS

STAPLE PO BOX 1449

IN THIS Looe

AREA GOODLETTSVILLE TN 37070
PICA a

1. MEDIGARE MEOICAID CHAMPUS

(Medical #)

Jon

GHAMPVA GROUP

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8. PATIENT RELATIONSHIP TO INSURED

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{FOR PROGAAM IN ITEM 1}

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9. OTHER INSURED'S NAME (Lest Name, First Nama, Middle Initial}

STATE [8. PATIENT STATUS STATE
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10, 1S PATIENT'S CONDITION Sea TO:

" a EMPLOYMENT? (CURRENT OR PREVIOUS)

Eis DATE OF SIATH

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c, EMPLOYER'S NAME OR SCHOOL NAME

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Ac. OTHER ACCIDENT?
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11. INSUREB'S POLICY GROUP OR FECA NUMBER

4. INSURED'S DATE OF BIRTH
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b, EMPLOYER'S NAME OF SCHOOL NAME

INSURANCE PLAN NAME OR PROGRAM NAME

@. INSURANCE PLAN NAME OR PHOGRAM NAME
MEDICARE OF MA

10d. AESEAVED FOR LOCAL USE

12. PATIENT'S OF AUTHOAZED PERSON
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SIGNATURE ON
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1S FHERE ANOTHER HEALTH BENEFIT PLAN?

YES Na

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CARRIER PATIENT ANO INSURED INFORMATION ———-¥ | “¢— CARRIER —>

Medical or other Information necossiry bo
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FILE

DATE

14, DATE OF CURRENT:
MM

PREGNANGY (LMP)

ILLNESS (First symptom) OR
INJURY fAceldani} OR

16. IF PATIENT HAS HAD SAME OF SIMILAR ILLNESS,
GIVE FIRSTOATE MM . DD, YY.

a
17. NAME OF REFERRING PHYSICIAN OR OTHER SOURCE

DAVID CHADBOURNE MD

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SIGNED

13. INSURED'S OR AUTHORIZED PERSON'S SIGNATURE I authorize
Payment of medical bones to tha undarsigned physldan or supper for

SIGNATURE ON FILE

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17a. LD. NUMBER OF REFERRING PHYSICIAN
B99559

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To tL
18. HOSPITALIZATION DATES RELATED 10 GUARENT SERVICES
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16, DATES PATIENT UNABLE 70 WORK IN CURRENT OCCUPATION
MM ob YY MM oD wv

18. RESERVED FOR LOCAL USE

21, DIAGNOSIS OR NATURE OF ILLNESS OF INJURY. (RELATE ITEMS 1.2.9 Of 4 10 ITEM 24E BY UNE}

20. OUTSIDE TAS?

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OPIGINAL REF. NO.

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PHILIP T GLYNN MD

SIGNED 03/21/2005 dae

CLYNN AND MURRAY OFFICE
299 CAREW STREET, STE 40d

SPRINGFIELD MA’ 01104

GLYNN -& MURRAY,
PO BOX 3160
ANDOVER MA 01810
PIN # |onPs

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APPROVED OME-T215 FORM OWCP-1500, APPAGVED OMBHI720-001 (CHAMPS)
Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 48 of 49

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submit your survoy responses as s00n as possible. Your feedback is very

important to Us.
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Case 1:01-cv-12257-PBS Document 4684-7 Filed 09/05/07 Page 49 of 49

04/28/2005

Date Issued

Amount Paid:

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’ SHEET METAL WORKERS’ NATIONAL HEALTH FUND

P.O. Box 1449

too, Goodlettsville, TN 37070-1449 "

, Claim No.2880080 ‘phone (615) 859-0131 Toll-free (800) 831-4914 Check No. 1403261
Explanation of Benefits SMW? Program

$139.41

‘01/27/2005 = 01/27/2005 = $4,271.00°. $0.00 $139.41 $139.41]

Comments:

Provider: LYN prHiR AZ :
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GLYNN & MURRAY RES Claim Ru rm Z0uU0BU

PO BOX 3160

ANDOVER, MA 01810

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’ Processed by Administrators, Inc.

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